      Case 2:22-cv-00186-BSM Document 51 Filed 09/29/23 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION

JAMEL EWING GREENE                                                        PETITIONER
Reg #17632-035

v.                        CASE NO. 2:22-CV-00186-BSM

C. GARRETT, Warden,
FCI-Forrest City                                                        RESPONDENT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed with prejudice.

     IT IS SO ORDERED this 29th day of September, 2023.



                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
